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 8   LORDON ENTERPRISES, INC

 9                                     UNITED STATES DISTRICT COURT
10                                    CENTRAL DISTRICT OF CALIFORNIA
11                                          SOUTHERN DIVISION
12
13   ATAIN SPECIALTY INSURANCE                 ) Case No. 2:19-cv-09824 DSF (MRWx)
     COMPANY,                                  )
14                                             ) Hon. Dale S. Fischer
                        Plaintiff and Counter- )
15                      Defendant,             )
                                               )
16          vs.                                )
17                                             )
     LAKE LINDERO HOMEOWNERS                   ) REPRESENTATION STATEMENT
18   ASSOCIATION;                              )
     GOLF PROJECTS LINDERO, INC.,              )
19                                             )
     a California corporation; and             )
20   LORDON ENTERPRISES, INC.,                 )
     a California corporation, dba             )
21   LORDON MANAGEMENT,                        )
                                               )
22                      Defendants and         )
                        Counterclaimants.      )
23                                             )
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 1   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 2

 3   The undersigned represents Defendants LAKE LINDERO HOMEOWNERS
 4   ASSOCIATION and LORDON ENTERPRISES, INC. in this matter and no other
 5   parties. Pursuant to Federal Rules of Appellate Procedure, Rule 12(b) and Circuit Rule
 6   3-2(b), attached is a service list of all the parties to this action, identifying their
 7   counsel by name, firm, address, telephone and facsimile numbers and e-mail
 8   addresses.
 9

10   Dated: April 5, 2021                          GAUNTLETT & ASSOCIATES
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                                                         David A. Gauntlett
12                                                       James A. Lowe
13                                                     Attorneys for Defendants
                                                   LAKE LINDERO HOMEOWNERS
14
                                                   ASSOCIATION. AND
15                                                 LORDON ENTERPRISES, INC

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